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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION


         UMG RECORDINGS, INC., et al.,                    §
                                                          §
                           Plaintiffs,                    §
                                                                Civil Action No. 1:17-cv-00365-DAE-AWA
                                                          §
         vs.                                              §
                                                          §
         GRANDE COMMUNICATIONS                            §
         NETWORKS LLC,                                    §
                                                          §
                           Defendant.                     §


                     PLAINTIFFS’ TRIAL MOTION IN LIMINE REGARDING
                     TESTIMONY ON GRANDE CUSTOMER STATEMENTS

                                                INTRODUCTION

           In its opening statement, Grande revealed that it intends to elicit trial testimony regarding

a particular conversation one of its employees allegedly had with a Grande customer in response

to receiving a DMCA notice. In particular, Grande claimed in its opening statement:

            And you’re going to learn that customers would call in confused about the
            accusations against them. You’re going to hear from one of our witnesses who
            talked to one of those people directly, and he's going to say they swear they did
            nothing wrong. How is Grande supposed to know who is telling the truth? Is it
            Rightscorp with e-mail accusations? Is it the subscriber who calls in swearing they
            didn’t do anything wrong? 1

           Grande should be precluded from presenting such testimony to the jury. During discovery,

Plaintiffs took a Rule 30(b)(6) deposition to determine Grande’s corporate knowledge regarding

its communications with customers in response to infringement notices. At that time, Grande’s

witness testified that admissible information concerning customer calls regarding copyright

infringement does not exist. In particular, Grande represented under oath that it performed an


1
    Oct. 12, 2022 Trial Tr. at 86:24-87:6. Emphasis is added throughout unless otherwise indicated.

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adequate investigation of its conversations with customers and based on that investigation, it

lacked knowledge of—and therefore could not disclose to Plaintiffs—the contents of any particular

customer phone calls on this subject matter. Thus, the Court should preclude Grande from

ambushing Plaintiffs with contradictory trial testimony.

         Furthermore, to the extent Grande seeks to introduce generalized testimony on this topic,

it is clear that the proffer of unverified generic statements from unidentified customers is rank

hearsay and does not satisfy the accuracy and trustworthiness requirements necessary to rely on

any hearsay exceptions.


I.   Testimony Based on Alleged Memory of Specific Customer Calls Should Be Precluded
     Because Grande Improperly Withheld The Content Of Such Calls From Plaintiffs
     During Discovery.

         A. In Discovery, Plaintiffs Specifically Sought Information on Communications
            between Grande and Its Customers.

         On February 23, 2018, Plaintiffs served Grande with a Rule 30(b)(6) deposition notice.

One of the topics on which Plaintiffs sought Grande’s corporate knowledge unmistakably targeted

the information at issue here: “Communications between [Grande] and any Customers or Users

in response to Notices.” 2 Grande designated its employee Jeff Shockley to provide testimony on

its behalf, and Mr. Shockley sat for a deposition on this topic—and only this topic—on September

26, 2018.

         During the deposition, Mr. Shockley stated that he understood the purpose of the deposition

was for him to provide testimony on behalf of Grande regarding the company’s communications




2
 Plaintiffs defined “Notice” as: “an oral or written notice, including but not limited to a notice under the DMCA, that
one or more of Grande’s Customers or Users allegedly infringed a copyright.”

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with customers in response to copyright infringement notices. 3 Mr. Shockley further stated that he

was able to provide testimony on behalf of Grande on this subject matter. 4

         B. Grande Testified Under Oath That it Could Not Recall the Contents of Any
            Particular Customer Phone Conversation.

         During the deposition, Plaintiffs expressly asked Mr. Shockley whether he could “recall

the specific details of any particular discussion [he] had with a customer about a DMCA notice.” 5

Mr. Shockley responded: “Truthfully, no. It’s – no.” 6 While Mr. Shockley testified as a general

matter that “everyone claims that they didn’t do it,” that customers receiving infringement notices

“don’t know what this is about,” 7 and that “[n]obody ever admits it,” he confirmed that “I can’t

tell you the details of the conversation.” For a clear record Plaintiffs’ counsel asked Mr. Shockley

to confirm that he, and therefore Grande, “can’t recall the contents of any particular phone call

[Grande] had with any person,” to which Mr. Shockley replied “[y]eah, not in any detail.” 8

Furthermore, Mr. Shockley confirmed that Grande has no documentary evidence—such as a




3
  Sept. 26, 2018 J. Shockley Dep. Tr. at 21:12-22 (Q. You understand that you're here today to provide testimony
regarding one of the topics in this notice, right? A. Yes, sir. Q. Have you seen this notice before? A. Yes, I have. Q.
It's my understanding that you are here as Grande's witness on Topic 41, which is, "Communications between you and
any Customers or Users in response to Notices." A. Correct.).
4
  Id. 24:10-14 (Q. And you feel, based on your preparations, able to provide testimony on behalf of Grande on Topic
41, communications between Grande and any customers or users in response to notices? A. Yes.).
5
  Id. 130:10-14 (Q. Are you able, sitting here today, to recall the specific details of any particular discussion you had
with a customer about a DMCA notice? A. Truthfully, no. It's -- no.).
6
  Id.
7
  Id. 124:12-24 (Q. I believe earlier you testified, that none of the folks that call you on this dedicated DMCA line
admit committing infringement; is that right? A. That's correct. Q. Does everyone deny committing infringement?
MR. O'BEIRNE: Objection, form, foundation. A. I've never talked to anybody who has -- everybody claims that they
didn't do it, it's not them, this isn't us, I don't know what this is about.)
8
  Id. 155:17-156:16 (Q. Just one or two follow-up questions based on what Mr. Brophy asked you about what callers
admit. You were just asked some questions about that. You testified that truthfully, you have no recollection of any
individualized phone call with any particular Grande subscriber, right? MR. BROPHY: Objection, mischaracterizes
his earlier testimony. A. Maybe I misunderstood. I thought you asked if I remember any specific conversations. Q.
Right. A. Yes. Nobody ever admits it, but I can't tell you the details of the conversation. And in a generalized, I have
never had a conversation with somebody who admitted ever doing this. Q. Sitting here today, you can't recall a time
where a Grande customer said to you on the phone, "I admit doing this"? A. Correct. Q. But you also, sitting here
today, can't recall the contents of any particular phone call you had with any person? A. Not to any -- MR. BROPHY:
Objection, vague. A. Yeah, not in any detail.).

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database or log of customer calls—that would reflect the details of any particular call with a

customer disputing an infringement notice. 9

           C. As a Result, Grande Should Be Precluded From Providing Any Testimony
              Allegedly Based on Memory of Specific Customer Calls.

           Because Grande testified that it lacked knowledge of any particular customer call regarding

an infringement notice, the Court should prohibit Grande witnesses from testifying about any

particular call at trial. Corporate parties are prohibited from “disclaiming the corporation’s

knowledge of a subject at the deposition and later introducing evidence on that subject.” Antero

Res. Corp. v. C & R Downhole Drilling, Inc., No. 4:16-CV-00668-Y, 2019 WL 13193894, at *3

(N.D. Tex. June 20, 2019) (internal quotation omitted); see Super Future Equities, Inc. v. Wells

Fargo Bank Minn., N.A., 3:06-cv-0271-B, 2007 WL 4410370, at * 8 (N.D. Tex. Dec. 14, 2007)

(precluding corporate representatives from testifying on certain topics at trial); cf. DAC Surgical

Partners P.A. v. United Healthcare Servs., Inc., No. 4:11-CV-1355, 2016 WL 7157522, at *3 (S.D.

Tex. Dec. 7, 2016) (“Federal courts have interpreted [Rule 30(b)(6)] as prohibiting a 30(b)(6)

representative from disclaiming the corporation’s knowledge of a subject at the deposition and

later introducing evidence on that subject.”) (citing cases); Reilly v. Natwest, 181 F.3d 253, 268-

70 (2d Cir. 1999) (when proffered Rule 30(b)(6) witness “lacked knowledge” of certain matters,

defendant was prohibited from offering testimony of witness at trial on the same matters).

           Here, Grande represented to Plaintiffs under oath that it did not have any details regarding

the content of any particular customer calls regarding infringement notices. Plaintiffs, in turn, were

entitled to rely on Grande’s testimony and not further pursue any details of any such calls in

discovery. Accordingly, Grande’s eleventh-hour reversal on this subject matter is irreversibly




9
    Id. 67:10-13 (Q. Does Grande keep track of the subject of calls that it receives from customers? A. I don't know.)

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prejudicial, and the Court should preclude Grande witnesses from testifying inconsistently with

Grande’s corporate deposition testimony. See Nora Beverages, Inc. v. Perrier Grp. Of Am. Inc.,

1999 WL 958608, at *5 n.3 (D. Conn. Oct. 14, 1999), aff’d, 269 F.3d 114 (2d Cir. 2001) (holding

that hearsay statements about unidentified customers are inadmissible because “they could not be

the subject of discovery of any kind”).


II. Grande’s Proffered Testimony About Vague Generalized Statements From Unidentified
    Customers Constitutes Inadmissible Hearsay.

       Whether consistent with Grande’s deposition testimony or not, the Court should preclude

Grande from introducing customer statements based on hearsay.

       As a threshold matter, Grande intends to proffer such statements to prove the truth of the

matter asserted, namely that the infringement notice received by the customer at issue was

inaccurate. Indeed, if the contents of the statement changed from “they swear they did nothing

wrong” to “they swear they did something wrong,” then Grande would not seek to introduce the

statement. At the same time, Grande is not offering the customer calls as evidence for some other

purpose. Thus, the Court should exclude any such testimony from any Grande employee as rank

hearsay. See FED. R. EVID. 801; Deutsche Shell Tanker Gesellschaft mbH v. Placid Refining Co.,

993 F.2d 466, 473 n. 29 (5th Cir. 1993) (corporate representative is not permitted to repeat “rank

hearsay”).

       Further, since any testimony Grande would plan to offer on this subject would lack any

specifics including as to identity, time or specific subject (such as what entity served the notice) it

would consist of no more than a removed in time paraphrase of a generalized memory and would

thus lack any indicia of reliability sufficient to satisfy any exception to the rule against hearsay.

Indeed, courts routinely preclude such testimony as unreliable when the witness cannot recount

sufficient details of the conversation. For example, in one recent slip-and-fall case, the court
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excluded the plaintiff’s testimony that an unidentified customer commented to her about an

allegedly wet floor because there was “too great a risk of inaccuracy or untrustworthiness to

provide the circumstantial guarantees of trustworthiness contemplated by the hearsay exceptions.”

Hill v. PetSmart, No. 6:20-CV-00004, 2022 WL 980269, at *3–4 (S.D. Tex. Mar. 30, 2022). See

also Smith Fiberglass Prods., Inc. v. Ameron, Inc., 7 F.3d 1327, 1330–31 (7th Cir. 1993) (holding

there is no “hearsay exception to the Federal Rules of Evidence for paraphrases of state of mind

declarations by unknown declarants”). As explained above, Grande has expressly disclaimed that

it possesses any evidence detailing the identities of the customer callers or the contents of those

calls. Instead, Grande plans to rely solely on the testimony of its own employee witness who will

be unable to identify the name of the declarant and any particular details about the communication.

The Court should not permit the jury to hear such self-serving and unverifiable testimony.

                                         CONCLUSION

       For the foregoing reasons, the Court should preclude Grande witnesses from testifying on

the details of any particular customer calls, or to provide unsubstantiated testimony about

purported, unidentified, customer calls in general.

Dated: October 17, 2022                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       The undersigned certifies that on October 17, 2022 all counsel of record who are deemed

to have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                  /s/ Paige A. Amstutz
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